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UN|TED STATES OF Al\/|ER|CA

Plaintiff
VS.
CR. NO. 04-20355-D
JERRY GRANT '
Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FV|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on |V|ay 19, 2005. At that time, counsel for the
defendant requested a continuance ofthe June 6, 2005 trial date and requested a Change
of Plea hearing date.

The Court granted the request and reset the trial date to July 5, 2005 with a we
of P|ea hearing date of Thursday. JuneL,__ZQOS. at 11:15 a.m., in Courtroom 3, ch
_F|£o_r of the Federa| Bui|ding, l\/lemphis, TN.

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

lT is so oRoEREo misc-23 day of May, 2005.

MA/Q/

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Th|s document entered on the docket sheet in compliance

with ama 55 and/or azrb) Fach on §Z§;Qi__

 

   

UNITED sATE DISTRICT COUR - WETERN DISTRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 34 in
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Honorable Bernice Donald
US DISTRICT COURT

